                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 19-08846-PS
DESIREE LORRIANE DRAKE                                                                  Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0970-2           User: admin                  Page 1 of 2                   Date Rcvd: Jul 23, 2019
                               Form ID: 309A                Total Noticed: 32


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 25, 2019.
db             +DESIREE LORRIANE DRAKE,     7307 W. PEORIA AVENUE,    PEORIA, AZ 85345-6017
15670152        Ad Astra Recovery Services,     8918 W 21st ST. N, Ste. 200,    PMB 303,    Wichita KS 67205-1880
15670155       +Amcol,    111 Lancewood Rd,    Columbia SC 29210-7523
15670156       +Arizona Department of Economic Security,     Unemployment Insurance Administration,
                 P. O. Box 29225,    Phoenix AZ 85038-9225
15670160       +Banner Urgent Care,    PO Box 2916,    Phoenix AZ 85062-2916
15670162       +CJ Auto Sales,    811 N Scottsdale Rd,    Scottsdale AZ 85257-4220
15670161      #+Charles Kilpatrick CPA PLLC,     2158 N. Gilbert Road,    #107,   Mesa AZ 85203-2109
15670169        NCC Business Service,    3428 Baymeadows Rd.,    Ste. 200,    Jacksonville FL 32256-2017
15670170       +NCC Business Services,    PO Box 24739,    Jacksonville FL 32241-4739
15670168       +National Medical Professionals,     P.O. Box 841407,    Dallas TX 75284-1407
15670158       +arrow head hospital,    18701 N 67th Ave,    Glendale AZ 85308-7101
15670163       +cj auto sales,    1313 S Country Club Dr,    Mesa AZ 85210-5129
15670172       +nextcare,    10240 N 43rd Ave #3,    Glendale AZ 85302-2044

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: tom@nwrelief.com Jul 24 2019 02:06:58        THOMAS ADAMS MCAVITY,
                 PHOENIX FRESH START BAKRUPTCY ATTORNEYS,     4742 N. 24TH STREET, #300,     PHOENIX, AZ 85016
tr              EDI: QLHGOERNITZ.COM Jul 24 2019 05:23:00       LOTHAR GOERNITZ,     P.O. BOX 32961,
                 PHOENIX, AZ 85064-2961
smg             EDI: AZDEPREV.COM Jul 24 2019 05:23:00       AZ DEPARTMENT OF REVENUE,     BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
15670153        EDI: AFNIRECOVERY.COM Jul 24 2019 05:23:00       AFNI,    PO Box 3517,    Bloomington IL 61702-3517
15670154       +EDI: AFNIRECOVERY.COM Jul 24 2019 05:23:00       AFNI, Inc.,    Attn: Bankruptcy,     PO Box 3517,
                 Bloomington IL 61702-3517
15670151       +E-mail/Text: bankruptcy@speedyinc.com Jul 24 2019 02:10:29         Ad Astra Recovery,
                 3607 N. Ridge Road,    Wichita KS 67205-1232
15670157       +EDI: AZDEPREV.COM Jul 24 2019 05:23:00       Arizona Department of Revenue,     P.O. Box 52016,
                 Phoenix AZ 85072-2016
15670159        EDI: BANKAMER.COM Jul 24 2019 05:23:00       Bank of America,    Billing Inquires,     PO Box 982235,
                 El Paso TX 79998-2235
15670164       +E-mail/Text: electronicbkydocs@nelnet.net Jul 24 2019 02:11:27         Dept. of Education,
                 Attn: Bankruptcy,    3015 Parker Rd., Ste 400,    Aurora CO 80014-2904
15670165        E-mail/Text: compliance@iqdata-inc.com Jul 24 2019 02:13:11         IQ DATA INTERNATIONAL,
                 P.O. Box 3568,    Everett WA 98213-8568
15670166        E-mail/Text: compliance@iqdata-inc.com Jul 24 2019 02:13:11         IQ Data International, Inc.,
                 PO Box 2130,   Everett WA 98213-0130
15670167        EDI: IRS.COM Jul 24 2019 05:23:00      IRS,    Central Insolvency Operations,     PO Box 7346,
                 Philadelphia PA 19101-7346
15670171       +E-mail/Text: electronicbkydocs@nelnet.net Jul 24 2019 02:11:27         Nelnet,   POB 82525,
                 Lincoln NE 68501-2525
15670177        EDI: NEXTEL.COM Jul 24 2019 05:23:00       Sprint Headquarters,     6200 Sprint Parkway,
                 Overland Park KS 66251
15670174       +E-mail/Text: bankruptcy@speedyinc.com Jul 24 2019 02:10:28         Speedy Cash Collections,
                 3611 N. Ridge Road,    Wichita KS 67205-1214
15670175       +E-mail/Text: bankruptcy@speedyinc.com Jul 24 2019 02:10:29         Speedy Cash Corporate,
                 3527 N. Ridge Road,    Wichita KS 67205-1212
15670176        EDI: NEXTEL.COM Jul 24 2019 05:23:00       Sprint,    PO Box 7993,    Overland Park KS 66207-0993
15670178       +EDI: WFFC.COM Jul 24 2019 05:23:00       Wells Fargo,    PO Box 51193,    Los Angeles CA 90051-5493
15670179       +EDI: WFFC.COM Jul 24 2019 05:23:00       Wells Fargo Bank,    Attn: Bankruptcy,    PO Box 6995,
                 Portland OR 97228-6995
                                                                                                TOTAL: 19

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
15670173      ##+Peak Acceptance,   4100 Spring Valley Rd,   # 820,   Dallas TX 75244-3678
                                                                                                TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.      Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




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                                      Form ID: 309A                      Total Noticed: 32


              ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 25, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 23, 2019 at the address(es) listed below:
              LOTHAR GOERNITZ    lothargoernitz@lgt.phxcoxmail.com, lgoernitz@ecf.axosfs.com
              THOMAS ADAMS MCAVITY   on behalf of Debtor DESIREE LORRIANE DRAKE tom@nwrelief.com,
               melissa@nwrelief.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




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Information to identify the case:
Debtor 1              DESIREE LORRIANE DRAKE                                            Social Security number or ITIN        xxx−xx−4048
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Arizona
                                                                                        Date case filed for chapter 7 7/18/19
Case number:          2:19−bk−08846−PS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       DESIREE LORRIANE DRAKE

2.      All other names used in the
        last 8 years

3.     Address                               7307 W. PEORIA AVENUE
                                             PEORIA, AZ 85345

4.     Debtor's attorney                     THOMAS ADAMS MCAVITY                                   Contact phone 503−739−3474
                                             PHOENIX FRESH START BAKRUPTCY                          Email: tom@nwrelief.com
       Name and address                      ATTORNEYS
                                             4742 N. 24TH STREET, #300
                                             PHOENIX, AZ 85016

5.     Bankruptcy trustee                    LOTHAR GOERNITZ                                        Contact phone 602−263−5413
                                             P.O. BOX 32961                                         Email: lothargoernitz@lgt.phxcoxmail.com
       Name and address                      PHOENIX, AZ 85064−2961
                                                                                                               For more information, see page 2 >
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Debtor DESIREE LORRIANE DRAKE                                                                                       Case number 2:19−bk−08846−PS


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                    Office Hours:
                                                230 North First Avenue, Suite 101                                 8:30 am − 4:00 pm Monday−Friday
    Documents in this case may be filed at this Phoenix, AZ 85003−1727
    address. You may inspect all records filed
    in this case at this office or online at                                                                      Contact Phone: (602) 682−4000
    www.pacer.gov.
                                                                                                                  Date: 7/23/19

7. Meeting of creditors                          August 19, 2019 at 01:30 PM                                      Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a                   US Trustee Meeting Room, 230
    questioned under oath. In a joint case,      later date. If so, the date will be on the court                 N. First Avenue, Suite 102,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                          Phoenix, AZ


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 10/18/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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